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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Mon Cheri Bridals, LLC                         )
                                               )
v.                                             )     Case No.      19-cv-2362
                                               )
Does 1-464                                     )     Judge:        Hon. Jorge L. Alonso
                                               )
                                               )     Magistrate:   Hon. Young B. Kim
                                               )


                            SATISFACTION OF JUDGEMENT

       Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe   Store Name         Store ID
 84    NaXY               A124L8E787RZXP
 92    Pandaie            A4G7UWOS3YYH0
 94    Promworld          A1VRLLUIFTQ7A0
 111   Taueryu            A1VFK1WMHQLVF
 295   luokadress         A2FQWCUVHF4HO4


dismisses them from the suit with prejudice.

Dated this 8th Day of November 2019.                 Respectfully submitted,


                                               By:     s/David Gulbransen/
                                                     David Gulbransen
                                                     Attorney of Record
                                                     Counsel for Plaintiff

                                                     David Gulbransen (#6296646)
                                                     Law Office of David Gulbransen
                                                     805 Lake Street, Suite 172
                                                     Oak Park, IL 60302
                                                     (312) 361-0825 p.
                                                     (312) 873-4377 f.
                                                     david@gulbransenlaw.com
